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     PHILIP J. TRENCHAK, ESQ.
 1
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 6

 7

 8                                      UNITED STATES DISTRICT COURT
 9                                          DISTRICT OF NEVADA
10
     SKYE KUKA, an individual,
11
                                                             CASE NO.:
                           Plaintiff,
12
                                                             DEPT NO.:
13   vs.

14   STRATOSPHERE GAMING, LLC dba                                         COMPLAINT
                                                                      (Jury Trial Demanded)
     STRATOSPHERE TOWER CASINO &
15
     HOTEL – TOP OF THE WORLD, a limited
16   liability company;

17                         Defendant.
18
            COMES NOW Plaintiff, SKYE KUKA, by and through her attorney Philip J. Trenchak, Esq. of
19
     Mullins & Trenchak, Attorneys at Law, and hereby complains and alleges as follows:
20
                                                JURISDICTION
21
            1.      This is an action for damages arising under Gender Discrimination in violation of State
22
     and Federal Statutes (Title VII), The Americans with Disabilities Act (“The ADA”), the Family Medical
23
     Leave Act (“FMLA”), ADA retaliation and/or FMLA retaliation and/or retaliation for the NERC/EEOC
24
     charges filed against Defendant herein and former employer.
25
            2.      This Court has primary jurisdiction over claims set forth herein pursuant to 28 U.S.C. §
26
     1331 (federal question), 28 U.S.C. §1343(a)(4)(civil rights action) and 42 U.S.C. §2000e-5(f)(3)(unlawful
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     discrimination and retaliation in employment). This Court has supplemental jurisdiction over any state
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 1   law claims pled herein pursuant to 28 U.S.C. §1367.
 2           3.      All material allegations relative to the named defendants contained in this Complaint are
 3    believed to have occurred in the State of Nevada, Clark County. Therefore, venue properly lies in the
 4    southern division of the United States Court for the District of Nevada pursuant to 28 U.S.C. §1391(b)(2).
 5                             EXHAUSTION OF ADMINISTRATIVE REMEDY
 6           4.      Plaintiff initiated the process of filing a Charge of Discrimination against her former
 7   employer, the Defendant named in this action, with the United States Equal Opportunity Commission
 8   (“EEOC”) wherein she alleged discrimination on the basis of her age, sex and retaliation as a continuing
 9   action. This was done within 300 days of the incident giving rise to this complaint.
10           5.      Thereafter, Plaintiff’s attorney received SKYE KUKA’s Notice of Right to Sue from the
11   U.S. Equal Employment Opportunity Commission. Please see attached Exhibit A.
12           6.      This action is being filed within 90 days of the EEOC “Right to Sue” Letter being received
13   by Plaintiff’s Counsel. Therefore, this action is timely.
14           7.      Plaintiff has exhausted her administrative remedy on all claims pled hereunder prior to
15   filing this action with this Court.
16                                                   PARTIES
17           8.      Plaintiff Skye Kuka (hereinafter “Plaintiff,” “Ms. Kuka” or “Skye Kuka” or “Skye”) is
18   and was at all times relevant hereto, a resident of the County of Clark, State of Nevada.
19           9.      Upon information and belief, Defendant STRATOSPHERE GAMING, LLC dba
20   STRATOSPHERE TOWER CASINO & HOTEL – TOP OF THE WORLD (hereinafter “Defendant” or
21   “Top of The World” or “The Stratosphere”) is and was at all times relevant hereto, a domestic limited
22
     liability company of the County of Clark, State of Nevada.
23
                                           GENERAL ALLEGATIONS
24
             10.     Plaintiff had been employed by Top of The World beginning on June 19, 2000 until she was
25
     unlawfully terminated on or about April 2, 2019.
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             11.     At all times mentioned herein, Plaintiff was employed by the Stratosphere.
27
             12.     Plaintiff had suffered harassment and bullying at the hands of male management at the
28
     Stratosphere.
                                                           2
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 1          13.        Plaintiff had made EEOC Charges on November 30, 2017.
 2          14.        Plaintiff had taken Family Medical Leave Act Leave for a large portion of 2017, and ending
 3   on February 24, 2018.
 4
            15.        Plaintiff reached a resolution to the EEOC Charge that had been filed against Defendant on
 5
     or about November 30, 2017, which was supposedly resolved in the summer of 2018.
 6
            16.        On or about March of 2019, Plaintiff was suspended pending an investigation for an alleged
 7
     incident that occurred which was referred to as “falsification of records.”
 8
            17.        Plaintiff was later terminated on or about April 2, 2019.
 9
            18.        Plaintiff filed a renewed EEOC Charge alleging retaliation for the first charge. See Exhibit
10
     A, Right to Sue Notice.
11
            19.        Plaintiff attempted to mediate the underlying charge, but no resolution was reached on or
12
     about December 20, 2019.
13
            20.        Plaintiff believes the stated reasons for termination to be pretextual, and that her termination
14

15
     was retaliatory for the EEOC Charges against Defendant, as well as for further reasons discussed herein.

16          21.        Discovery will be required to determine the reason for the discharge, because the stated

17   reason is inadequate to justify terminating Ms. Kuka after approximately a nineteen (19) year career with

18   Defendant.

19          22.        Plaintiff further alleges as follows hereunder.
                                               FIRST CAUSE OF ACTION
20
                     (Discrimination Based on Gender in violation of State and Federal Statutes)
21
            23.        Plaintiff incorporates all of the allegations in the preceding paragraphs as though fully set
22
     forth herein.
23
            24.        Plaintiff is a member of the class of persons protected by state and federal statutes
24
     prohibiting discrimination based on gender.
25
            25.        Defendant, as an employer is subject to Nevada and federal statutes prohibiting
26
     discrimination, NRS 613.330 et. seq. and Title VII, 42 U.S.C. § 2000e et. seq. as amended and thus, has a
27
     legal obligation to provide Plaintiff and all employees a workplace free of unlawful discrimination.
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 1           26.     Defendant refused to take reasonably adequate steps to prevent discrimination against
 2   Plaintiff to disparate terms of employment.
 3           27.     Defendant discriminated against Plaintiff when it retained as employees, male managers
 4
     who continued to subject Plaintiff to discrimination in the workplace.
 5
             28.     No other similarly situated persons, i.e. male employees, not of Plaintiff’s protected class
 6
     were subject to the same or substantially similar conduct.
 7
             29.     Notwithstanding the foregoing difficulties, Plaintiff performed her job satisfactorily.
 8
             30.     Plaintiff suffered adverse economic impact including but not limited to loss of pay, benefits,
 9
     expenses and other damages which will be more fully described at the time of trial.
10
             31.     Plaintiff was embarrassed, humiliated, angered and discouraged by the discriminatory
11
     actions taken against her.
12
             32.     Plaintiff suffered and continues to suffer compensable emotional and physical harm,
13
     including, but not limited to, headaches, sleeplessness, anxiety and depression resulting from this unlawful
14

15
     discrimination by her employer.

16           33.     Plaintiff is entitled to be fully compensated for her emotional disturbance by being forced

17   to endure this discrimination.

18           34.     Pursuant to 1991 Amendments to title VII, Plaintiff is entitled to recover punitive damages

19   for Defendant’s malicious, intentional repeated violations of federal and state civil rights laws.
20           35.     Defendant is guilty of oppression, fraud or malice, express or implied as Defendant
21   knowingly and intentionally discriminated against Plaintiff because of her gender.
22           36.     As a direct and proximate result of the unlawful conduct by Defendant, either directly or
23   indirectly through its employees, Plaintiff suffers and continues to suffer thousands of dollars in the form
24
     of lost income and loss of benefits and additional amounts of money she would have received had said
25
     Defendant not violated her rights.
26
             37.     Therefore, Plaintiff is entitled to recover damages for the sake of example, to deter other
27
     employers from engaging in such conduct and by way of punishing the Defendant in an amount deemed
28
     sufficient by the jury.
                                                           4
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                                        SECOND CAUSE OF ACTION
 1
                  (Discrimination Based on Disability in violation of State and Federal Statutes)
 2
            38.      Plaintiff incorporates all of the allegations in the preceding paragraphs as though fully set
 3
     forth herein.
 4
            39.      Plaintiff is a member of the class of persons protected by state and federal statutes
 5
     prohibiting discrimination based on Disability.
 6
            40.      Plaintiff was granted an “ADA Leave” according to Defendant’s internal documents,
 7
     wherein Plaintiff was returning back to work on February 24, 2018.
 8
            41.      Plaintiff informed Defendant she had a disability affecting a major life function and a
 9
     Reasonable Accommodation had been put into place for Ms. Kuka so that she was able to perform the basic
10
     functions of her position.
11

12
            42.      Plaintiff is a qualified individual able to perform her job tasks, and has effectively performed

13   her job for nineteen (19) years.

14          43.      Plaintiff is a qualified individual with a disability that is able to perform the essential

15   functions of her job with a reasonable accommodation.

16          44.      Defendant was aware of the disability and Plaintiff had a reasonable accommodation to
17   assist her in performing the essential functions of her position.
18          45.      Defendant, as an employer is subject to Nevada and federal statutes prohibiting
19   discrimination based upon Disability, NRS 613.330 et. seq. and the ADA et. seq. as amended and thus, has
20   a legal obligation to provide Plaintiff and all employees a workplace free of unlawful discrimination based
21
     upon Disability.
22
            46.      Defendant refused to take reasonably adequate steps to prevent discrimination against
23
     Plaintiff, based upon Disability.
24
            47.      No other similarly situated persons, not of Ms. Kuka’s protected class, were subject to the
25
     same or substantially similar treatment.
26
            48.      Plaintiff suffered adverse economic impact including but not limited to loss of pay, benefits,
27
     expenses, and other damages which will be more fully described at the time of trial.
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 1           49.     Plaintiff was embarrassed, humiliated, angered and discouraged by the discriminatory
 2   actions taken against her.
 3           50.     Plaintiff suffered and continues to suffer compensable emotional and physical harm,
 4
     including but not limited to, headaches, sleeplessness, anxiety manifesting as panic attacks, and depression
 5
     resulting from this unlawful discrimination by her employer.
 6
             51.     Plaintiff is entitled to be fully compensated for her emotional disturbance by being forced
 7
     to endure this discrimination.
 8
             52.     Plaintiff is entitled to recover punitive damages for Defendant’s malicious, intentional
 9
     repeated violations of federal and state civil rights laws.
10
             53.     Plaintiff suffered damages in an amount to be deemed sufficient by a jury.
11
             54.     Plaintiff is entitled to an award of reasonable attorney’s fees.
12
             55.     Defendant is guilty of oppression, fraud or malice, express or implied as Defendant
13
     knowingly and intentionally discriminated against Plaintiff because of her Disability.
14

15
             56.     Therefore, Plaintiff is entitled to recover damages for the sake of example, to deter other

16   employers from engaging in such conduct and by way of punishing the Defendant in an amount deemed

17   sufficient by the jury.
                                    THIRD CAUSE OF ACTION
18                   (VIOLATION OF THE FAMILY MEDICAL LEAVE ACT (FMLA))
19           57.     Plaintiff repeats, re-alleges, and incorporates herein by reference, the allegations contained
20   in the foregoing paragraphs as though fully set forth herein.
21
             58.     The Family and Medical Leave Act applies to employers that meet the following
22
     requirements:
23
                     a.        Employees at companies with 50 or more employees who work within 75 miles of
24
             the primary work site.
25
                     b.        Employees must have worked at the company for at least 12 months (for at least
26
             1,250 hours in those 12 months) before they can take leave under FMLA.
27
             59.     Plaintiff did work for the Plaintiff for nineteen (19) years.
28
             60.     Plaintiff was unlawfully terminated on or about April 2, 2019.
                                                            6
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 1            61.    Plaintiff had taken FMLA Leave the year before she was unlawfully terminated.
 2            62.    Plaintiff believes that she was terminated in retaliation for taking her FMLA Leave.
 3            63.    Plaintiff was terminated for alleged violation of the Employer’s guidelines.
 4
              64.    This violation did not occur, but Plaintiff was terminated regardless.
 5
              65.    Plaintiff’s FMLA rights were violated as outlined above.
 6
              66.    Plaintiff was required to retain counsel to prosecute this FMLA violation cause of action
 7
     and is entitled to an award of reasonable attorney’s fees and costs.
 8                                        FOURTH CAUSE OF ACTION
         (Retaliation under Federal Law, 42 U.S.C. § 2000e-3 and Nevada State Law, NRS 613.340)
 9
              67.    Plaintiff incorporates all of the allegations in the preceding paragraphs as though fully set
10
     forth herein.
11

12
              68.    In violation of 42 U.S.C § 2000e-3, Defendant retaliated against Plaintiff after she had filed

13   an EEOC charge against her employer/Defendant herein, which resolved in the summer of 2018.

14            69.    This discharge occurred following “ADA Leave” which can also be defined as FMLA

15   Leave.

16            70.    The behavior complained of also constitutes retaliatory discrimination.
17            71.    Plaintiff has filed an EEOC Charge which was resolved in the summer of 2018.
18            72.    Approximately seven (7) months after the EEOC charge allegedly resolved, Plaintiff was
19   unlawfully terminated.
20            73.    There may be more detrimental acts of which Plaintiff is unaware which may also constitute
21
     retaliation in that it harmed Plaintiff in her workplace.
22
              74.    The aforementioned actions and conduct by Defendant constitutes illegal retaliation which
23
     is prohibited by federal and state statutes.
24
              75.    Plaintiff has been seriously harmed, economically and emotionally by this unlawful
25
     retaliation and she is entitled to be fully compensated therefor.
26
              76.    Plaintiff had to engage the services of attorneys for representation in this matter and is
27
     entitled to an award of reasonable attorney’s fees.
28
     ///
                                                            7
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 1          WHEREFORE, Plaintiff prays for relief against Defendants, each of them, as follows:
 2                                         ON ALL CAUSES OF ACTION
 3          1.      For compensatory damages in the principal amount in excess of seventy-five thousand
 4   dollars ($75,000.00) to be proven at trial;
 5          2.      For punitive damages in the principal amount in excess of seventy-five thousand dollars
 6   ($75,000.00) to be proven at trial;
 7          3.      For special damages in the principal amount in excess of seventy-five thousand dollars,
 8   ($75,000.00) to be proven at trial;
 9          4.      For attorney’s fees and costs incurred;
10          5.      For all damages in an amount to be proved at trial;
11          6.      For costs of suit herein incurred;
12          7.      For reasonable interest on amounts due; and,
13          8.      For any such other and further relief as this Court deems just and proper.
14          DATED this 27th day of July, 2020.
15
                                            MULLINS & TRENCHAK, ATTORNEYS AT LAW
16
                                            /s/ Phil Trenchak_______
17                                          Philip J. Trenchak, Esq.
                                            Nevada Bar No. 009924
18
                                            Mullins & Trenchak, Attorneys at Law
19                                          1614 S. Maryland Parkway
                                            Las Vegas, NV 89104
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                                       PLAINTIFF’S JURY DEMAND
 1
            Plaintiff, SKYE KUKA, by and through her attorneys of record, PHILIP J. TRENCHAK, ESQ. of
 2
     the law firm MULLINS & TRENCHAK, ATTORNEYS AT LAW, respectfully submits this Demand for
 3
     Jury pursuant FRCP 38 in the above captioned matter.
 4
            DATED this 27th day of July 2020.
 5

 6
                                                MULLINS & TRENCHAK, ATTORNEYS AT LAW
 7
                                                /s/ Phil Trenchak___________
 8                                              PHILIP J. TRENCHAK, ESQ.
                                                Nevada State Bar No. 009924
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                                                F: (702) 778-9449
                                                E: phil@mullinstrenchak.com
12                                              Attorneys for Plaintiff

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                 Exhibit A

     Right to sue letter
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